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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF PENNSYLVANIA


HIGH FIVE VENTURES, INC.,                      :
           Plaintiff                           :
                                               :
       v.                                      :
                                               :            CASE NO.: 1:13-CV-2334
SPORTSMANSLIQUIDATION.COM,                     :
LLC and MUSKEGON HUNTING                       :
PRODUCTS, LLC,                                 :
           Defendants                          :


              SECOND UPDATE REGARDING STATUS OF RECEIVERSHIP

       Compass Advisory Partners, LLC, as the duly appointed Receiver in this action (the

“Receiver”), hereby avers the following:

       1.      As of November 17, 2015 the Receiver has paid all administrative claims and the

following checks have not been cashed by unsecured creditors:

       0000133 Dry Guy = $282.77
       0000139 Harry E Muller = $2.70
       0000158 Okuma Fishing Tackle Corp = $1,727.14
       0000189 Zebco Sale Company, LLC = $892.12

       2.      The Receiver is attempting to reach the above referenced creditors one last time to

cash their checks before closing the estate.

       3.      The Receiver now anticipates requesting this Court to close receivership on or

about December 31, 2015 in order to allow unsecured creditors additional time to cash all of

their respective distributions.
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                                   McNEES WALLACE & NURICK LLC


Date: November 17, 2015            By: /s/ Clayton W. Davidson
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